      Case 18-80678                 Doc 25        Filed 07/26/18 Entered 07/26/18 23:33:43                   Desc Imaged
                                                  Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Edward P Krajecki                                           Social Security number or ITIN   xxx−xx−5172
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 18−80678



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Edward P Krajecki

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           July 24, 2018                                                                 United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-80678-TML
Edward P Krajecki                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-3                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 24, 2018
                                      Form ID: 318                       Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 26, 2018.
db             +Edward P Krajecki,    24450 W Cherokee Trail,   Grayslake, IL 60030-9760
26600548       +John Minemyer,    c/o Douglas Chalmers,   120 N. LaSalle Street, Suite 2000,
                 Chicago, IL 60602-2452
26600549       +John Minemyer,    c/o Douglas M. Chalmers PC,   120 N LaSalle Street, Suite 2000,
                 Chicago, IL 60602-2452
26904858       +John T. Minemyer,    c/o Douglas M. Chalmers,   120 N. LaSalle Street,   Suite 2000,
                 Chicago, IL 60602-2452
26600550       +R-BOC Representatives,    720 N 17th Srteet,   Unit 11,   Saint Charles, IL 60174-1529
26600551       +Ralph Schwab Gartner & Schiever,    3 Hawthorn Parkway - Suite 370,
                 Vernon Hills, IL 60061-1449
26600552       +Robert Lundeen,    M McAndrews,   200 W Madison Street, Suit 2040,   Chicago, IL 60606-3416
26600553       +Timothy Grimsley,    c/o M. McAndrews,   200 W Madison Street, Suite 2040,
                 Chicago, IL 60606-3416

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QBJNATALE.COM Jul 25 2018 05:43:00     Bernard J Natale,    Bernard J. Natale, Ltd.,
                 Edgebrook Office Center,   1639 N Alpine Rd,   Suite 401,    Rockford, IL 61107-1481
26600554        EDI: CHASE.COM Jul 25 2018 05:43:00     Chase,   P.O. Box 15298,    Wilmington, DE 19850-5298
                                                                                             TOTAL: 2

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*              +Bernard J Natale,   Bernard J. Natale, Ltd.,   Edgebrook Office Center,                        1639 N Alpine Rd,
                    Suite 401,   Rockford, IL 61107-1481
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 26, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 24, 2018 at the address(es) listed below:
              Bernard J Natale   on behalf of Trustee Bernard J Natale natalelaw@bjnatalelaw.com,
               bnatale@ecf.epiqsystems.com
              Bernard J Natale   natalelaw@bjnatalelaw.com, bnatale@ecf.epiqsystems.com
              David P Leibowitz, ESQ   on behalf of Debtor 1 Edward P Krajecki dleibowitz@lakelaw.com,
               jstorer@lakelaw.com;storerjr58596@notify.bestcase.com;ecf@lakelaw.com
              Douglas Chalmers    on behalf of Creditor John T Minemyer dmc@chalmers-law.com
              Patrick S Layng   USTPRegion11.MD.ECF@usdoj.gov
                                                                                             TOTAL: 5
